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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Michael J Brosnahan,                              No. CV-16-08277-PCT-DLR
10                 Plaintiff,                          ORDER
11   v.
12   Caliber Home Loans Incorporated, et al.,
13                 Defendants.
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16           This matter having recently come before this Court,
17           IT IS ORDERED that a motion pursuant to Fed. R. Civ. P. 12(b) is discouraged if
18   the defect can be cured by filing an amended pleading. Therefore, the parties must meet
19   and confer prior to the filing of a motion to dismiss to determine whether it can be
20   avoided. The duty to confer also applies to parties appearing pro se. Consequently,
21   motions to dismiss must be accompanied by a notice of certification of conferral
22   indicating that the parties have conferred to determine whether an amendment could cure
23   a deficient pleading, and have been unable to agree that the pleading is curable by a
24   permissible amendment. In addition, parties shall endeavor not to oppose motions to
25   amend that are filed prior to the Scheduling Conference or within the time set forth in the
26   Rule 16 Case Management Order. Motions to dismiss that do not contain the required
27   certification are subject to be stricken on the Court’s motion.
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 1         IT IS FURTHER ORDERED directing Plaintiff familiarize himself with the
 2   Federal Rules of Civil Procedure and Local Rules for the District of Arizona, both of
 3   which can be found on the Court’s web site at www.azd.uscourts.gov.
 4         IT IS FURTHER ORDERED that Plaintiff(s) shall serve a copy of this Order
 5   upon Defendant(s) and file notice of service.
 6         Dated this 29th day of November, 2016.
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                                                 Douglas L. Rayes
11                                               United States District Judge
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